842 F.2d 332
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.In the Matter of:  Roy J. POGUE, et al.Roy J. POGUE, Appellant,v.FEDERAL DEPOSIT INSURANCE CORPORATION, Appellee.
    No. 87-5268.
    United States Court of Appeals, Sixth Circuit.
    March 15, 1988.
    
      1
      Before KRUPANSKY and WELLFORD, Circuit Judges, and GILMORE, District Judge.*
    
    ORDER
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      The Court finds that no prejudicial error intervened in the judgment and proceedings before the ALJ or the FDIC, and it is therefore ORDERED that said judgment be and it hereby is affirmed.
    
    
      4
      Appellee to recover double costs from appellant.
    
    
      
        *
         The Honorable Horace W. Gilmore, United States District Judge for the Eastern District of Michigan, sitting by designation
      
    
    